Case 1:01-cv-12257-PBS Document 870-2 Filed 06/18/04 Page1of1

CERTIFICATE OF SERVICE

I hereby certify that on the 18" day of June 2004, I caused a true and correct copy
of the County of Suffolk’s Response To Defendants’ Notice Of Supplemental Authority
to be served on all counsel of record by electronic service via Verilaw’s Electronic
Service System pursuant to Case Management Order No. 2 entered by the honorable Patti

B. Saris in MDL No. 1456.

AS

Aaron D. Hovan

Kirby McInemey & Squire, L.L.P.
830 Third Avenue, 10th Floor
New York, NY 16022

(212) 371-6600

